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                               THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY
                                       CAMDEN VICARAGE


                                                                          No. 1:19-md-2875-RBK
                                                                           Hon. Robert Kugler
      IN RE: VALSARTAN, LOSARTAN, AND
                                                                           Hon. Joel Schneider
      IRBESARTAN PRODUCTS LIABILITY
      LITIGATION
                                                                      PROTOCOL REGARDING
                                                                           VALIDATION
                                                                        OF TECHNOLOGY-
                                                                     ASSISTED REVIEW (“TAR”)

          This Protocol Regarding Validation of Technology-Assisted Review (“TAR”) (hereinafter,
  “TAR Validation Protocol”) shall govern Plaintiffs and Teva Pharmaceuticals USA, Inc., Teva
  Pharmaceutical Industries Ltd., Actavis LLC, Actavis Pharma, Inc., and Arrow Pharm (Malta) Ltd.
  (collectively, the “Teva Defendants”) in the above-captioned matter, in accordance with the
  Court’s Order filed December 2, 2020 (Document 647), and this Protocol shall be memorialized
  in a Court Order. This TAR Validation Protocol shall serve as a supplement to Case Management
  Order No. 8 (Electronic Discovery Protocol – Stipulated) [Dkt. 127], which shall remain in full
  force, except to the extent modified or superseded herein.
          The Teva Defendants do not waive any rights or protections pursuant to privacy,
  confidentiality, attorney-client privilege, attorney work product, or any other privileges,
  protections, or objections to discovery that the Teva Defendants may have (individually,
  “Privilege”; collectively, “Privileges”). The Teva Defendants preserve all such Privileges. The
  Teva Defendants reserve the right to redact and/or to withhold from any production any document
  that contains information subject to any appropriate objections, including, without limitation, any
  Privilege or Privileges, subject to the Confidentiality and Protective Order entered in this matter
  on June 26, 2019 [Dkt. 139].
         I.    THE TAR TOOL

         The Teva Defendants represent the following. They intend to use Brainspace Continuous
  Multimodal Learning (“CMML”) (version 6.2.8), which uses a continuous active learning
  (“CAL”) process to automatically assign a classification score to each document in the review
  population, and to rank the documents in the collection from most to least likely to be relevant. 1
  The predictive models used to generate these scores are developed through a process referred to
  as supervised machine learning, meaning that they are built based on the coding of human-
  reviewed documents. To start the TAR review process, CMML is used to select, for human review,

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    In the context of this TAR Validation Protocol, the terms “relevant” and “responsive” are used interchangeably.
  Relevance is defined by (1) the claims and defenses in this action and/or (2) responsiveness to the Third Amended Set
  of Requests for Production to All API and Finished Dose Manufacturing Defendants, ordered by the Court on
  December 23, 2019 [Dkt. 328], modulo the Teva Defendants’ responses and objections thereto. In addition, by
  agreeing to this TAR Validation Protocol, the Parties are not waiving any arguments or objections as to the
  admissibility of any responsive documents.

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  a set of documents that are conceptually diverse and representative of the entire dataset. Once the
  first iteration of classification scores is generated, human reviewers review batches of documents
  that are deemed the next most likely to be responsive based on their classification scores. The
  CMML model is updated, iteratively, based on the review of the highest scoring as-of-yet-
  unreviewed documents, continuously improving the predictive model based on the results of the
  latest human review. This process is repeated until as many responsive documents as reasonably
  possible have been identified, as determined by the Review Stopping Criteria set forth below in
  Section VI. The review process includes and is followed by a validation process in order to seek
  to identify the maximum number of relevant and responsive documents, and derive an estimate of
  recall, showing the proportion (i.e., percent) of responsive documents in the review population
  that have been identified through the TAR process, and the estimated proportion and nature (i.e.,
  the uniqueness and importance, or the duplicativeness and marginality) of any documents that have
  been missed.

       II.   COOPERATION

          For the purposes of avoiding protracted discovery disputes in this proceeding, but without
  requiring the disclosure of any Privileges, the Teva Defendants have agreed to provide the
  Plaintiffs with certain non-privileged documents and information set forth below that they would
  not ordinarily disclose in the course of discovery. Such documents and information shall be subject
  to the Confidentiality and Protective Order entered in this matter on June 26, 2019 [Dkt. 139].
          The Parties agree to meet and confer in good faith to resolve any disputes that may arise in
  the course of the TAR review process or this TAR Validation Protocol, and if they are unable to
  do so, they will promptly raise such matters with the Court for resolution.


      III.   SCOPE OF RELEVANCE

          It is important that the Parties agree on the objective of the TAR exercise (i.e., the scope
  or categories of documents to be included or excluded by the use of CMML). The Parties agree on
  the scope of relevance, which is governed by both (1) relevance to the claims and defenses in this
  action, and/or (2) responsiveness to Plaintiffs’ discovery requests (modulo the Teva Defendants’
  responses       and     objections),     which      is    deemed      relevant   by       definition.

      IV.    TAR REVIEW POPULATION

          The review population to which CMML shall be applied (the “TAR Review Population”)
  shall include the documents of the thirty-six (36) identified custodians (and any others to be added
  at any point in time) for the time period of January 1, 2012 to present, as previously negotiated
  and agreed to by the Parties at an in-person conference held on December 11, 2019 and confirmed
  in the Court’s December 23, 2019 Order [Dkt. 328] (for the applicable custodians), and in the
  Court’s November 25, 2019 Order [Dkt. 303] confirming the “macro” discovery arguments argued
  to the Court at the November 20, 2019 Case Management Conference (for the applicable time
  period). The Teva Defendants represent that the TAR Review Population is reasonably believed
  to contain information that is (1) relevant to the claims and defenses in this action and/or (2)
  responsive to Plaintiffs’ requests for production.

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          The Parties recognize that certain types or categories of documents may not be appropriate
  for TAR. These include, but are not limited to: photographs or images, chromatograms, mass
  spectrometry, schematics or drawings, spreadsheets and presentations, audio or video files,
  documents with handwritten notations, documents with too little text or Optical Character
  Recognition (“OCR”) quality such as to render the use of TAR ineffective, hard copy documents,
  contacts, and calendar entries. Such documents will be excluded from the TAR Protocol and will
  be analyzed for substantive content by human reviewers. The Teva Defendants shall disclose to
  Plaintiffs the file types and extensions that are excluded from the TAR work flow and subject to
  manual analysis.

          The Teva Defendants may also remove obvious “junk” or non-responsive materials from
  the TAR Review Population (e.g., identified pools of logos, Amazon.com or ESPN.com emails,
  etc.) based on sender domain name(s) or address(es), file types, and similar characteristics. The
  Teva Defendants shall disclose to Plaintiffs the criteria used to identify such obvious “junk” or
  non-responsive materials.

         The Teva Defendants shall not use keywords to cull or otherwise reduce the TAR Review
  Population, however the TAR Review Population shall be de-duplicated, and email threading shall
  not be applied to same notwithstanding Case Management Order No. 8 (Electronic Discovery
  Protocol – Stipulated) [Dkt. 127].

       V.    TAR TRAINING PROCESS AND REVIEW QUALITY CONTROL (“QC”)

          As described in Section I above, following the human review of the initial training set
  selected by CMML, the TAR tool automatically applies a classification score to each as-of-yet-
  unreviewed document in the collection and ranks the documents from most to least likely to be
  relevant. The human reviewers are not provided with any information about CMML’s
  classification scores for the documents when they review them. The coding of each document that
  is reviewed by a human is ultimately fed back into CMML and the tool’s predictive model
  iteratively updates as additional documents are reviewed, improving CMML’s ability to
  distinguish responsive from non-responsive documents. If a document presented for review cannot
  be reviewed because of a technical difficulty, it is coded “Technical Difficulty.” The Teva
  Defendants shall maintain a record of all documents coded as “Technical Difficulty” and shall
  provide a log of same to Plaintiffs. Documents coded “Technical Difficulty” are not fed back into
  CMML and are no longer considered as part of the TAR Review Population, and must be manually
  reviewed.

          The Teva Defendants shall utilize Teva’s core discovery documents as training examples
  (with the exception of portions of the ANDA files to be determined), as soon as practicable. Within
  ten (10) business days of the execution of this TAR Validation Protocol, Plaintiffs may, but are
  not required to, provide to the Teva Defendants up to one hundred (100) documents for
  consideration as additional training examples for CMML (e.g. documents produced by Teva,
  documents produced by other Defendants). Thereafter, Plaintiffs may provide further sets of
  proposed training examples for CMML, for up to 30 days after this protocol is finalized. Should
  the Teva Defendants have an objection to any of the proposed training documents, the Parties shall
  meet and confer and if they are unable to resolve their disagreement within ten (10) business days,

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  they shall promptly raise the issue with the Court for resolution. Within ten (10) business days
  after each rolling production is made, the Parties shall meet and confer to discuss any concerns the
  Plaintiffs may have with the progress of the training of CMML up to that point (if any).

          To ensure that the human coding decisions are as accurate and consistent as possible, both
  the Teva Defendants’ vendor and its counsel shall perform continuous Quality Control (“QC”) of
  the human review process, including but not limited to, review of: (i) documents receiving a high
  classification score by CMML that are coded non-responsive by a human reviewer, (ii) documents
  receiving a low classification score by CMML that are coded responsive by a human reviewer;
  (iii) documents that are or appear to be inconsistently coded by human reviewers; and/or (iv)
  random samples of documents coded by human reviewers. Any document that was coded non-
  responsive in error, or was otherwise not coded responsive in error, shall be re-coded responsive
  and fed back into CMML with the proper coding.

           With each rolling production, Plaintiffs shall be provided: (1) the number of documents,
  and percentage of documents, for categories (i), (ii), and (iii); (2) the number of documents where
  a reviewer coded a document as responsive but the document was not produced (except for
  documents withheld based on assertion of privilege); (3) the percentage of reviewed documents
  found to be non-responsive; and (4) the percentage of the entire document set, and number of
  documents, that has/have not been reviewed.



      VI.    TAR REVIEW STOPPING CRITERIA

          The TAR review process for each rolling production will continue until the Teva
  Defendants have reviewed at least 15% of the entire document set, and can reasonably conclude
  that further review is unlikely to yield additional responsive documents with sufficient quantity or
  materiality to justify continuing. The 15% minimum review requirement will permit a credit for
  the approximately 740,000 documents that Teva represents it has reviewed as of the November
  30, 2020 production deadline, but will require a minimum of 460,000 documents of the highest
  scoring 15% of the entire document set to be newly reviewed (documents not reviewed previously)
  before consideration can be given to implementing the Stopping Criteria. This will not occur before
  the last batch of documents identified by CMML classification score and reviewed by humans
  contains no more than five percent (5%) responsive documents and none of the responsive
  documents is novel and/or more than marginally relevant.

          At that point, the Teva Defendants will conduct an Elusion Sample to estimate the number
  of responsive documents that have been missed by CMML in that production. The size of the
  Elusion Sample shall be four hundred (400) documents drawn at random from the “null set,” which
  is comprised of the documents for which CMML classification scores did not suggest the need for
  human review (i.e., they received low classification scores). This sample size will provide an
  estimate of the number of documents missed at the 95% confidence level, with a margin of error
  of plus or minus five percent (5%). If any of the documents that are found in the Elusion Sample
  are novel and/or relevant, the TAR process will resume. If the Elusion Sample shows that
  substantially all relevant documents have been identified (i.e., the recall estimate obtained using

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  that Elusion Sample is 80% or more), the review process shall cease for that particular rolling
  production. Plaintiffs will be provided the results of the Elusion Sampling, including copies of
  any responsive documents identified through the Elusion Sampling process, for any rolling
  production, which shall be promptly provided. Should the Parties disagree that, for any rolling
  production, the Teva Defendants have chosen a reasonable stopping point, the Parties shall meet
  and confer in good faith and if they are unable to resolve their disagreement within ten (10)
  business days, they shall promptly raise the issue with the Court for resolution.

          The same Review Stopping Criteria and Elusion Sampling process shall be applied for each
  rolling production.

         Teva’s Review and Elusion Sampling shall be completed, and Plaintiffs will be given
  Teva’s final list of non-responsive documents on or before January 15, 2021, and February 15,
  2021, in connection with each rolling production.

     VII.        VALIDATION PROTOCOL

          Once the final rolling production has been made, the Teva Defendants shall engage in the
  following Validation Protocol to demonstrate that their production is reasonable, made in good
  faith, and consistent with their obligations under Fed. R. Civ. P. 26(g).

            A.     Plaintiffs shall be allotted a budget of five thousand (5,000) documents for the
                   purposes of an audit of the adequacy of the Teva Defendants’ entire production
                   (i.e., consisting of all of the rolling productions). This sample of five thousand
                   (5,000) documents shall be referred to as the “Audit Sample,” and shall be provided
                   to Plaintiffs. Plaintiffs may use their Audit Sample to test whichever aspect(s) of
                   the Teva Defendants’ review process they would like, from the categories set forth
                   below (each an “Audit Category”). By way of example, only, Plaintiffs may
                   request that a random sample of size n documents be drawn from certain of the
                   categories set forth below, or they may request a sample of size n documents be
                   drawn from the documents after application of a search query of their own
                   choosing. At least ten business days prior to Plaintiffs having to select documents
                   and searches for the Audit Categories, the Teva Defendants shall provide Plaintiffs
                   with a hit count report run across the unreviewed set with the currently agreed to
                   search terms. If requested by Plaintiffs the Parties shall meet and confer regarding
                   the potential need for further reviews and hit count reports prior to initiating the
                   Audit process. The total Audit Sample may be allocated among the following Audit
                   Categories as Plaintiffs see fit, provided that the total Audit Sample shall not exceed
                   five thousand (5,000) documents (including family members, if requested).

                   1. Audit Category 1 – A random sample of the documents that were either
                      produced or withheld on the basis of Privilege [no minimum number of
                      documents]

                   2. Audit Category 2 – A random sample of the documents selected by CMML,
                      reviewed by a human reviewer, and coded as non-responsive [no minimum


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                number of documents]

             3. Audit Category 3 – A random sample of the documents excluded by CMML,
                not reviewed by a human reviewer, and not selected using any search query
                per the below Audit Categories [minimum of one thousand (1,000)
                documents]

             4. Audit Category 4 – A sample of the documents excluded from review by
                CMML, not reviewed by a human reviewer, and selected by using the
                following search query [ABC] (either all of the “hits” if there are less than the
                number specified, or a random sample of the “hits” if there are more than the
                number specified) [no minimum number of documents]

             5. Audit Category 5 – A sample of the documents excluded from review by
                CMML, not reviewed by a human reviewer, and selected by using the
                following search query [DEF], (either all of the “hits” if there are less than the
                number specified, or a random sample of the “hits” if there are more than the
                number specified), but not including any documents identified by the search
                query [ABC] [no minimum number of documents]

             6. Audit Category 6 et seq. – A sample of the documents excluded from review
                by CMML, not reviewed by human reviewers, and selected by using the
                following search query [GHI] et seq., (either all of the “hits” if there are less
                than the number specified, or a random sample of the “hits” if there are more
                than the number specified), but not including any documents identified by any
                of the search queries previously employed in any other Audit Category [no
                minimum number of documents]

       B.    Plaintiffs shall provide the Teva Defendants with their request for Audit Samples
             no later than ten (10) business days following the last rolling production on
             February 15, 2021. The request shall include: (i) specification of the Audit
             Categories (as described in Paragraph VII.B above); (ii) the search query to be used
             (if any) for Audit Categories 4 et seq.; and (iii) the number of documents to be
             included in each Audit Category. The Parties shall meet and confer in good faith
             to resolve any questions or technical issues raised by the Plaintiffs’ request for
             Audit Samples.

       C.    The Teva Defendants shall have their vendor draw the Audit Sample, as specified
             in Paragraph VII.B by Plaintiffs, and provide the Audit Sample to Plaintiffs within
             fourteen (14) days after Plaintiffs’ designation. The vendor shall maintain a
             separate record of which documents were selected for which Audit Categories, and
             shall place the Audit Sample in a folder that contains no information about the
             Audit Category or Categories from which the documents came, how the documents
             were previously coded or whether they were previously produced or withheld and
             the basis therefor, or the classification score of the documents.



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       D.    The Teva Defendants shall review and code the Audit Sample and shall provide a
             certification under oath that the reviewer(s) of its Audit Sample had no knowledge
             of the Audit Category or Categories from which the documents came, how the
             documents were previously coded or whether they were previously produced or
             withheld and the basis therefor, or the classification score of the documents.

       E.    The Plaintiffs shall notify the Teva Defendants of any disagreement with the Teva
             Defendants’ coding of any document in the Audit Sample. The Parties shall meet
             and confer in good faith over any such disagreements. Should the Parties be unable
             to resolve their disagreements on the coding of any document(s) in the Audit
             Sample, or any other issue stemming from the Audit Process within ten (10)
             business days, they shall promptly raise the issue with the Court for resolution.

       F.    Within five (5) business days of final agreement on the coding of the Audit Sample,
             the Teva Defendants shall complete and provide Plaintiffs with a table indicating
             for each document in the Audit Sample, the Audit Category or Categories to which
             it belongs, and whether it was: (i) produced in one of the rolling productions as
             responsive in its own right; (ii) produced in one of the rolling productions as a
             family member of a responsive document; (iii) withheld from production as
             privileged; (iv) withheld from production as non-responsive; (v) not identified as
             potentially responsive by CMML; or (vi) was not produced for any other reason(s),
             which reason(s) shall be provided, and the classification score of each document.
             Along with the table, the Teva Defendants shall provide Plaintiffs with a completed
             copy of the TAR Worksheet (attached hereto as Exhibit A).

       G.    The results set forth in the table described in Paragraph VII.G above and in the TAR
             Worksheet A (including the estimate of recall) should provide the Parties with
             sufficient information to determine whether the Teva Defendants have made a
             reasonable, good faith production consistent with their obligations under Fed. R.
             Civ. P. 26(g). If a problem is identified with respect to the Teva Defendants’
             production as a whole, or with respect to any particular Audit Category, the Parties
             shall meet and confer in good faith to determine a suitable remediation procedure,
             which may involve re-running CMML again using the responsive document(s)
             identified during the Audit Process as new training documents, establishment of
             additional Audit Samples in accordance with the process herein, and reviewing the
             next-most-likely to be relevant documents suggested by CMML to confirm that
             there are no additional responsive documents, running some additional keyword
             searches, etc. If the Parties cannot agree on whether the production is adequate or
             on an appropriate remediation procedure within ten (10) business days, they shall
             promptly raise the issue with the Court for resolution.

       H.    Plaintiffs shall have the right to apply to the Court for further relief within sixty
             (60) days after the designated non-responsive documents are produced if plaintiffs’
             review of the documents demonstrates that more than a minimal amount of
             materially relevant and non-duplicate or cumulative documents were designated as
             non-responsive, or if there are any alleged deficiencies in Teva’s ESI production.


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                                           EXHIBIT A

                                       TAR WORKSHEET


  Audit Category 1: All documents that were either produced or withheld on the basis of
  Privilege.

  Number of documents in category: _____ [no minimum]
  Sample size: _____
  Number of responsive documents in sample: _____
  Estimated number of responsive documents in category (number of responsive documents in
  sample ÷ sample size × number of documents in category): _____

  Audit Category 2: All documents selected by CMML, reviewed by a human review, and coded
  as non-responsive.

  Number of documents in category: __________ [no minimum]
  Sample size: __________
  Number of responsive documents in sample: __________
  Estimated number of responsive documents in category (number of responsive documents in
  sample ÷ sample size × number of documents in category): __________

  Audit Category 3: All documents excluded by CMML, not reviewed by a human reviewer, and
  not selected using any search query per the below Audit Categories.

  Number of documents in category: __________ [minimum of 1,000]
  Sample size: __________
  Number of responsive documents in sample: __________
  Estimated number of responsive documents in category (number of responsive documents in
  sample ÷ sample size × number of documents in category): __________
  _____

  [Repeat as necessary]
  Audit Category 4: All documents excluded from review by CMML, not reviewed by a human
  reviewer, and selected by using the following search query [ABC] (either all of the “hits” if
  there are less than the number specified, or a random sample of the “hits” if there are more
  than the number specified).

  Search query: _________________________________________________________________
  Number of documents in category: __________ [no minimum]
  Sample size: __________
  Number of responsive documents in sample: __________
  Estimated number of responsive documents in category (number of responsive documents in
  sample ÷ sample size × number of documents in category): __________



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Audit Category 5: All documents excluded from review by CMML, not reviewed by a human
reviewer, and selected by using the following search query [DEF], (either all of the “hits” if
there are less than the number specified, or a random sample of the “hits” if there are more
than the number specified), but not including any documents identified by the search query
[ABC].

Search query: _________________________________________________________________
Number of documents in category: __________ [no minimum]
Sample size: __________
Number of responsive documents in sample: __________
Estimated number of responsive documents in category (number of responsive documents in
sample ÷ sample size × number of documents in category): __________

Audit Category 6 et seq.: All documents excluded from review by CMML, not reviewed by
human reviewers, and selected by using the following search query [GHI] et seq., (either all of
the “hits” if there are less than the number specified, or a random sample of the “hits” if there
are more than the number specified), but not including any documents identified by any of the
search queries previously employed in any other Audit Category.

Search query: _________________________________________________________________
Number of documents in category: __________ [no minimum]
Sample size: __________
Number of responsive documents in sample: __________
Estimated number of responsive documents in category (number of responsive documents in
sample ÷ sample size × number of documents in category): __________



Overall Estimates:

P = Estimated number of responsive documents either produced or withheld on the basis of
Privilege: (estimate from Audit Category 1): __________

NP = Estimated number of responsive documents not either produced or withheld on the basis
of Privilege: (sum of estimates for Audit Categories 2 et seq.): _________

Estimated Recall: P ÷ (P + NP) × 100% = __________


I certify under penalty of perjury that (i) the Teva Defendants’ Auditor(s) who coded the
documents in the Audit Sample had no knowledge of the Audit Category or Categories from
which the documents came, how the documents were previously coded or whether they were
previously produced or withheld and the basis therefor, or the classification score of the
documents, and (ii) that the answers provided in this TAR Worksheet are complete and correct
to the best of my knowledge, information, and belief.



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Signature: ____________________________________

Name: _______________________________________

Title: ________________________________________

Date: ________________________________________




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